Case 1:18-cr-00083-TSE Document 257-3 Filed 08/21/18 Page 1 of 1 PagelD# 5584

DEFT'S EXHIBITS °

—_—” See

(H)/D3 + Work PAPER /SPREADSHEET/ BUSINESS RECORDS - cLO.PORTA 8]
/VA* 2046 U.S. RETURN) OF PARTNERSHIP INCOME - C.LOPORTA Be

@d 2: SCHEDULE/ RECORD OF KWC - C.LaPORTE 8/6
JD5: IRS PUBLICATION — C.LAPORTA 8/6

(+: CHART CoMPILATION_ gy
@ " \( PULLED FROM INDENT) GGTES “Srhii6 OPH

@/d14: CONFRMOTION OF WIRE REQUEST ( $(05,000% ) - RGATES 814,8/2

(A)/DI5: CONFIRMATION OF WIRE REQUEST (4120,000%) RGaTES a

/D21: FBI RECORD A/1S/2014 -R.GATES B/S/I&
D2 * MORFIN LOIKi BONK- ACTINET TRADINGD LIMITED - M.Malrionos 4]

/DAY* COMPANY RESOLUTION — W.WaGioNOs 8]2
25: MORFIN LOIKT BANK -LUCICLE CONSULTANTS UMITED - ee
MD20° MORFIN LOKI BONK -LUCICLE CON SUCTANTS UNIITED - wi. adatioos
) 032: EMAIL W / ATTACHMENTS - MANAFORT TO FALLARINO - WW. James 8/9
(DEC. 24, 2015)

@®v/d24: EMAIL FOLLARINO 2 MANAFORT(3/11]201)-PmiceLi B14
T. RODRIGUEZ 819

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@b40 -ufelie Eman CHaw Re Request FoR 20 PROTO Oaeeluen 313

Gvd4! \\s|i7 Loan Memocaloum - 7, BRANNAN G12
